                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

       Plaintiff,

       v.                                                         Case No. 06-Cr-226

EMILIO JARA BARRERA,
MARTIN CARDENAS,
ALCARIO RENEE CRUZ and
JOSE RAMON ZAVALA-URBINA,

       Defendants.


                    MAGISTRATE JUDGE'S RECOMMENDATION TO THE
                           HONORABLE RUDOLPH T. RANDA



                                       NATURE OF CASE

       On September 26, 2006, defendants Emilio Jara Barrera, Martin Cardenas, Alcarjo

Renee Cruz and Jose Ramon Zavala-Urbina were charged in a two-count indictment with

violating the federal controlled substances laws. In Count One, the defendants are charged

with conspiracy to distribute controlled substances, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A)(i) and 846 and 18 U.S.C. § 2. Count Two charges them with the possession, with

intent to distribute a controlled substance, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(i)

and 18 U.S.C. § 2.

       Pursuant to the pretrial scheduling order issued at the arraignment and plea, defendant

Cardenas filed several motions, including a motion to suppress statements (Docket #16) which

will be addressed herein.




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                              MOTION TO SUPPRESS STATEMENTS

       Defendant Martin Cardenas (hereinafter the defendant) moves this court, pursuant to

Rule 12 of the Federal Rules of Criminal Procedure and the Fourth, Fifth and Sixth

Amendments to the United States Constitution for an order suppressing as evidence any

statements allegedly made by him to law enforcement officers on September 13, 2006, at

approximately 8:10 p.m.

       On November 1, 2006, the court conducted an evidentiary hearing on the defendant's

motion. Jesus Sandoval, a special agent with the Drug Enforcement Administration (DEA),

testified at the hearing. Based on the evidence presented at the hearing, the court makes the

following findings of fact.

                                       Findings of Fact

       On September 13, 2006, at approximately 12:00 noon, DEA Special Agent Jesus

Sandoval, who was operating in an undercover capacity, contacted Jose Ramon Zavala-Urbina

to arrange the purchase of two kilos of heroin. Agent Sandoval and defendant Zavala made

several telephone calls back and forth. Ultimately Agent Sandoval and defendant Zavala

agreed that defendant Zavala would provide the agent with two kilos of heroin. The transaction

was to occur on the south side of Milwaukee at approximately 8:00 p.m.

       At approximately 7:30 p.m. on September 13, 2006, Agent Sandoval went to the Pick

‘N Save on 18th Street and National Avenue in the City of Milwaukee. Upon his arrival at that

location, he placed a telephone call to defendant Zavala and they agreed to meet at the Pick

‘N Save grocery store. To assist defendant Zavala in finding him in the parking lot, Agent

Sandoval provided defendant Zavala with a description of the vehicle near him. Subsequently



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a green Ford Explorer arrived at Agent Sandoval’s location. Agent Sandoval entered the

vehicle and sat down behind the driver, who was subsequently identified as defendant

Cardenas. The passenger seated in the right front passenger seat was defendant Zavala.

Agent Sandoval spoke to both individuals in the vehicle. At that time the back door to the

vehicle was open and the light inside the vehicle was on. Defendant Cardenas told Agent

Sandoval to close the door so that the light in the vehicle would go off.

       While Special Agent Sandoval was in the vehicle with the defendants, he stated that the

substance involved was heroin. Agent Sandoval asked about the purity of the heroin which he

was to purchase for $82,000.00. He also said he wanted to test the heroin and inquired about

its location. After a number of inquiries, defendant Zavala told Special Agent Sandoval that the

heroin was in a trap compartment in the back part of the vehicle and he told the agent to reach

under the back seat. At the same time that defendant Zavala was making the statement to

Agent Sandoval, defendant Cardenas was pointing to the area where the heroin was located.

       Special Agent Sandoval retrieved the package under the seat and then asked the

defendants how and where they wanted to count the money since it was in small bills and

would take about 20 minutes to count. Agent Sandoval then exited the vehicle to get the

money. After exiting the vehicle, Agent Sandoval gave the arrest signal and at approximately

7:52 p.m., law enforcement officers moved in with guns drawn and arrested both defendants.

The officers were loudly identifying themselves at the time.

       Defendant Cardenas was handcuffed, taken into custody and driven to a neutral area

about one and one-half miles away from the Pick ‘n Save store. The officer who transported

defendant Cardenas was English speaking.



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        Special Agent Sandoval arrived at the neutral location and spoke to defendant Cardenas

who was inside the police vehicle. Agent Sandoval remained outside the vehicle. He told

defendant Cardenas why he was arrested and what the charges were. He asked defendant

Cardenas biographical information, such as his name, address, date of birth and whether or

not he was a citizen of the United States. He did not ask any questions about the drug deal.

The law enforcement officer standing next to Special Agent Sandoval wrote down the

biographical information which the defendant provided.                 The defendant did not have

identification on him when he was arrested.

        Before he was questioned, defendant Cardenas told Agent Sandoval that defendant

Zavala had contacted him because defendant Zavala needed a ride from Waukesha to

Milwaukee. Defendant Zavala said that he was going to Milwaukee to do a drug deal. The

defendant told Agent Sandoval that he did not know anything else. Agent Sandoval did not

read the defendant his Miranda1 warning before the defendant made his statement. No further

questions were asked of the defendant. The discussion with the defendant took place at

approximately 10:00 p.m.

        According to Agent Sandoval, the defendant had indicated that he did not know English

and he had advised someone that he only spoke Spanish. Agent Sandoval wanted information

from the defendant to see if the defendant could assist him in his further investigation of the

case.




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            Miranda v. Arizona, 384 U.S. 436 (1966).

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                                           ANALYSIS

       In seeking to suppress his statement, the defendant asserts that his statement was not

voluntarily made. He cites his youth, inexperience with the English language, lack of Miranda

warnings and the circumstances surrounding his arrest by officers with weapons drawn to

support his contention that his statement was not given voluntarily.

       In opposing the motion, the government asserts that Special Agent Sandoval did not

question the defendant about the events culminating in the defendant’s arrest. He informed

the defendant of the charges that caused his arrest and obtained some biographical

information from the defendant, in part, because the defendant was carrying no identification

at the time of his arrest. The government points out that after the defendant spontaneously

stated that defendant Zavala asked him for a ride to a drug deal, Special Agent Sandoval

asked the defendant no questions. The government maintains that there is no evidence that

the defendant’s age, educational background or mental state impaired his ability to

spontaneously provide voluntary statement to Agent Sandoval.

       It is well-settled that Miranda deals only with the "admissibility of statements obtained

from an individual who is subjected to custodial police interrogation." United States ex rel. Link

v. Lane, 811 F.2d 1166, 1170 (7th Cir. 1987) (citing Miranda v. Arizona, 384 U.S. 436, 439

[1966]). Here, there is no dispute that the defendant was in custody when he made the

statement to Agent Sandoval.

       Custodial interrogation is “questioning initiated by law enforcement officers after a

person has been taken into custody or otherwise deprived of his freedom of action in any

significant way.” Miranda, 384 U.S. at 444. Interrogation includes express questioning, as well

as "any words or actions on the part of the police (other than those attendant to arrest and

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custody) that the police should know are reasonably likely to elicit an incriminating response

from the suspect." Rhode Island v. Innis, 446 U.S. 291, 301 (1980).

       Questions posed to obtain biographical information from a defendant are outside the

scope of Miranda. Pennsylvania v. Muniz, 496 U.S. 582, 601 (1990); United States v. Leung,

929 F.2d 1204, 1209 (7th Cir. 1991). Such information falls within the “routine booking

question” exception which is exempt from Miranda coverage. Muniz, 496 U.S. at 601.

       Volunteered statements are not within the scope of Miranda, insofar as the rights are

designed to protect individuals from the coercive tactics of police interrogation. Rhode Island

v. Innis, 446 U.S. 291 (1980). Since Miranda and its progeny are designed to protect criminal

defendants from coercive police tactics which would produce involuntary confessions, they

afford no protections to criminal defendants who, of their own volition, decide to make

statements and otherwise cooperate with authorities.

       In this case, the evidence shows that defendant Cardenas volunteered that defendant

Zavala had asked for a ride to a drug transaction. Other than routine biographical information

to establish the identity of the defendant, Special Agent Sandoval asked the defendant no

questions. Approximately 20 minutes after his arrest and while he was at a neutral location,

the defendant spontaneously offered the information about defendant Zavala.

       Additionally, there is also no evidence that the statement which the defendant seeks to

suppress was involuntarily or coerced in any way. A statement is voluntary if, under the totality

of the circumstances, it is a “product of a rational intellect and free will and not the result of

physical abuse or psychological intimidation or deceptive interrogation tactics that have

overcome the defendant’s free will.” United States v. Huerta, 239 F.3d 865, 871 (7th Cir. 2001)

(quoting United States v. Dillon, 150 F.3d 754, 757 [7th Cir. 1998]); see also, Schneckloth v.

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Bustamonte, 412 U.S. 218, 226 (1973). Here, the defendant volunteered the information to

Special Agent Sandoval. He was not questioned about the drug transaction by Special Agent

Sandoval.

         Based on the evidence presented, there is no basis for suppressing defendant

Cardenas’ spontaneous and voluntary statement to Special Agent Sandoval. Accordingly, the

defendant’s motion to suppress statements (Docket #16) will be denied.

                                            CONCLUSION

         NOW, THEREFORE, IT IS HEREBY RECOMMENDED that the United States district

judge enter an order denying defendant Martin Cardenas’ motion to suppress statements.

(Docket #16).

         Your attention is directed to 28 U.S.C. § 636(b)(1)(A) and General Local Rule 72.3 (E.D.

Wis.), whereby written objections to any recommendation herein or part thereof may be filed

within ten days of service of this order. Objections are to be filed in accordance with the

Eastern District of Wisconsin's electronic case filing procedures. Courtesy paper copies of any

objections shall be sent directly to the chambers of the district judge assigned to the case.

Failure to file a timely objection with the district court shall result in a waiver of your right to

appeal.

         Dated at Milwaukee, Wisconsin this 7th day of November, 2006.

                                                           BY THE COURT:


                                                               s/ Patricia J. Gorence
                                                           PATRICIA J. GORENCE
                                                           United States Magistrate Judge




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